

Board of Mgrs. of the Carriage House Condominium v Healy (2021 NY Slip Op 03401)





Board of Mgrs. of the Carriage House Condominium v Healy


2021 NY Slip Op 03401


Decided on June 01, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 01, 2021

Before: Gische, J.P., Webber, Singh, Kennedy, JJ. 


Index No. 150491/19 Appeal No. 13968N Case No. 2020-02425N 

[*1]The Board of Managers of the Carriage House Condominium, Plaintiff-Respondent,
vJohn A. Healy et al., Defendants-Appellants.


Healy LLC, New York (Valeria Calafiore Healy of counsel), for appellants.
Ropers Mejeski, PC, New York (Eric C. Weissman of counsel), for respondent.



Order, Supreme Court, New York County (James E. D'Auguste, J.), entered on or about April 30, 2020, which, to the extent appealed from as limited by the briefs, denied defendants' motion to compel responses to their discovery demands and stayed discovery during the pendency of their motion to dismiss, unanimously affirmed, with costs.
Upon defendants' service of a pre-answer motion to dismiss pursuant to CPLR 3211, discovery in the action was automatically stayed (see CPLR 3214[b]), and the record supports the motion court's exercise of discretion in finding that discovery was unwarranted to properly address the motion to dismiss (see generally Jeffers v American Univ. of Antigua, 125 AD3d 440 [1st Dept 2015]; Shovak v Long Is. Commercial Bank, 35 AD3d 837 [2d Dept 2006]).
We have considered defendants' remaining arguments and find them unpreserved, and in any event, unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 1, 2021








